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          United States Attorney                  Assistant Attorney General for National Security
 2        Sirena Plaza, Suite 500                 Brett C. Reynolds
           108 Hernan Cortez Avenue
                                                  Trial Attorney
                                                  Counterintelligence and Export Control Section
          Hagatna, Guam 96910                     National Security Division, U.S. Department of Justice
          PHONE: (671)472-7332                    Washington, D.C. 20530
 4        FAX: (671)472-7215                      Brett.Revnolds@,usdoi.gov
                                                  (202) 233-2113 (office) / (202) 704-9720 (cell)
 5                                                                                                     fniE}




                                                                                          district COURT OF uUAf/
 6
         Attorneys for the United States of America
                                                                                            NOV 1 3 202^
 7                                  IN THE UNITED STATES DISTRICT COURT
                                                                                       JEANNE G.QUINA7 a
                                        FOR THE TERRITORY OF GUAM                        CLERK OF COURT
 9
          UNITED STATES OF AMERICA,                           MAGISTRATE CASE NO.            24-00                  42
10
                          Plaintiff,
                                                              PETITION FOR WRIT OF i^MOVAL
11                        vs.



12
          ASIF WILLIAM RAHMAN,

13                        Defendant.

14
                 Petitioner, United States Attorney for the District of Guam, respectfully shows this Court
15       that:

16               1.     On November 7, 2024, the United States District Court for the Eastern District of
17
         Virginia filed an Indictment charging the Defendant, ASIF WILLIAM RAHMAN (“Defendanf’)

         with two counts of Willful Retention and Transmission of National Defense Information in

19
         violation of 18 U.S.C. § 793(e).
20               2.     On November 7, 2024, the United States District Court for the Eastern District of

21
         Virginia issued a Warrant of Arrest for the Defendant to be brought to the Eastern District of
22
         Virginia, to answer to the charges of the Indictment. A copy of the Indictment and WaiTant of
23
         Arrest ai-e attached and incoiporated herein as Exhibit 1.
24
                        On November 12, 2024, the Defendant was arrested in Cambodia and brought to

                                                          1


                      Case 1:24-mj-00142        Document 1       Filed 11/13/24     Page 1 of 8
 1   Guam.


 2           WHEREFORE, petitioner prays this Court to issue a Writ of Removal pursuant to Rule

 3   5(c) of the Federal Rules of Criminal Procedure, for said Defendant from the District of Guam to

 4   the Eastern District of Virginia.

 5           DATED this 13th day of November, 2024.

 6
                                          MATTHEW G. OLSEN
                                          Assistant Attor: leral
 7


 8
                                    By;
                                          PRETT C. RE
 9
                                          Trial Attorney
                                          Counterintelligence and Export Control Section
10                                        National Security Division

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                Case 1:24-mj-00142        Document 1      Filed 11/13/24     Page 2 of 8
Case l:24-cr-00249-PTG *SEALED* Document 2 *SEALED* (Court only)                                 Filed 11/07/24
                             Page 1 of 5 PagelD# 5                                                           FILED
                                                                                           ●j           IN OPEK COURT




                      IN 'n-IE UNITED STA TES DISTRICT COURT FOR THI
                                  EASTERN DISTRICT OF VIRGINIA
                                                                                                  CLERK U.S. OISTRir.T COIIR'
                                             Alexandria Division                                    ALEX^NDR’A. VIRGIN'^



 UNITED STATES OF AMERICA                            )         Case No. I:24-cr-249
                                                     )
          V.                                         )         Count One: 18 U.S.C. § 793(e)
                                                     )         (Willful Retention and Transmission of
 ASIF WILLIAM RAHMAN,                                )         National Defense Information)
                                                     )
                          DefemkmI.                  )         Count Two: 18 U.S.C. § 793(e)
                                                     )         (Willful Retention and Transmission of
                                                     )         National Defense Information)

                                              INDICTMENT


                               November 2024 Term—Alexandria, Virginia

 THE GRAND JURY CHARGES 'FHAT:

                                      GENERAL ALLEGATIONS

 At all times material to this indictment:

                                               The Defendant

          1.       Defendant ASIF WILLIAM RAHMAN (‘TUHMAN’^) was employed by the

 U.S.     Govermiient.    In    connection    with       his   employment,    RAHMAN            held     a     TOP


 SECRETZ/Sensitive Compartmented Inlbrmalion security clearance and had access to classified

 information and information relating to the national defense (“National Defense Infomiation”).

                                         Classified Information


          2.       National security information was information owned by, produced by, produced

 for, and under the control of the United Slates government. Pursuant to Executive Order 12958

 signed on April 17, 1995, as amended by Executive Order 13292 on March 25, 2003, and

 Executive Order 13526 on December 29, 2009, national security information was classified as

 U'

      POP SECRET,      SECRET,” or “CONFIDENTIAL,” as follows:

          a.       Inforaiation was classilled as TOP SECRET if the unauthorized disclosure of that
                   information reasonably could be expected to cause exceptionally grave damage to
                                                                                                       GOVERNMENT
                                                                                                          EXHIBIT


                                                                                                              1

               Case 1:24-mj-00142       Document 1              Filed 11/13/24        Page 3 of 8
Case l:24-cr-00249-PTG *SEALED* Document 2 *SEALED* (Court only)                          Filed 11/07/24
                             Page 2 of 5 PagelD# 6



                 the national security that the original classification authority was able to identify or
                 describe.


        b.       Information was classified as SECRET if the unauthorized disclosure of that
                 information reasonably could be expected to cause serious damage to the national
                 security that the original classification authority was able to identify or describe.

        c.       Information was classified as CONFIDENTIAL if the unauthorized disclosure of
                 that information reasonably could be expected to cause damage to the national
                 security that the original classification authority was able to identify or describe.

        3.       Classified information related to intelligence sources, methods, and analytical

 processes was designated as Sensitive Compartraented Information (“SCI”).              SCI was to be

 processed, stored, used, or discussed in an accredited Sensitive Compartmented Information

 Facility (“SCIF”), and only individuals with the appropriate security clearance and additional SCI

 permissions could have authorized access to such classified national security information.

        4.       Classified information, including SCI, was marked according to its classification

 and applicable SCI compartments, following standard formats for different types of media.

 including headers and footers stating the highest classification level.

        5.       Pursuant to Executive Order 13526, information classified at any level could be

 lawfully accessed only by persons determined by an appropriate United States government official

 to be eligible for access to classified information, who had signed an approved non-disclosure

 agreement, who received a security clearance, and who had a “need to know” the classified

 information. Classified information could only be stored or discussed in an approved facility.




                                                    2



             Case 1:24-mj-00142        Document 1         Filed 11/13/24       Page 4 of 8
Case l:24-cr-00249-PTG *SEALED* Document 2 *SEALED* (Court only)                        Filed 11/07/24
                             Page 3 of 5 PagelD# 7



                                             COUNT ONE


                        (Willful Transmission of National Defense Information)

        6.         The General Allegations above are fully incorporated here by reference.

        7..I   ,
                   On or about October 17, 2024, in an offense committed outside of the jurisdiction

 of any particular State or district of the United States, including Phnom Penh, Cambodia, within

 the extraterritorial jurisdiction of the United States and therefore within the venue of the United

 States District Court of the Eastern District of Virginia pursuant to Title 18, United States Code,

 Section 3238, as the District of the last known residence of the offender, defendant

                                     ASIF WILLIAM RAHMAN


 having unauthorized possession of, access to, and control over a classified document relating to

 the national defense, willfully retained the document and failed to deliver it to the officer or

 employee of the United States entitled to receive it, and attempted to and did, in fact, willfully

 communicate, deliver, transmit, and cause to be communicated, delivered, and transmitted that

 document to a person not entitled to receive it, to wit, a document marked as classified at the TOP

 SECRET//SCI level which contained information relating to the national defense (“Document 1”).

                     (In violation of Title 18, United States Code, Section 793(e)).




                                                   3



             Case 1:24-mj-00142         Document 1        Filed 11/13/24       Page 5 of 8
Case l:24-cr-00249-PTG *SEALED* Document 2 *SEALED* (Court only)                        Filed 11/07/24
                             Page 4 of 5 PagelD# 8



                                            COUNT TWO


                      (Willfui Transmission orNalional Defense Information)

                 The General Allegations above arc fully incorporated here by reference.

        9.       On or about October 17, 2024, in an offense committed outside of the jurisdiction

 of any particular State or district of the United States, including Phnom Penh, Cambodia, within

 the extraterritorial jurisdiction of the United States and therefore within the venue of the United

 States District Court of the Eastern District of Virginia pursuant to Title 18, United States Code,

 Section 3238, as the District of the last known residence of the offender, defendant

                                   ASIF WILLIAM RAHMAN


 having unauthorized possession of, access to, and control over a classified document relating to

 the national defense, willfully retained the document and failed to deliver it to the officer or

 employee of the United States entitled to receive it, and attempted to and did, in fact, willfully

 communicate, deliver, transmit, and cause to be communicated, delivered, and transmitted that

 document to a person not entitled to receive it, to wit, a document marked as classified at the TOP

 SECRET//SCI level which contained information relating to the national defense ("Document 2”).

                   (In violation of Title 18, United States Code, Section 793(e)).

                                                      A TRUE BILL




                                                      Foreperson j^f tlie Grand Jury
        JESSICA D. ABER                           MATTHEW G. OLSEN
        United States Attorney                    Assistant Attorney General


 By:
        Troy A. Edwards                           Brett Reynolds
        Anthony Rodregous                         Trial Attorney
        Assistant United States Attorneys         Counterintelligence and Export Control Section
                                                  National Security Division
                                                 4



             Case 1:24-mj-00142       Document 1        Filed 11/13/24       Page 6 of 8
                    Case l:24-cr-00249-PTG *SEALED* Document 2 *SEALED* (Court only)                                 Filed 11/07/24
                                                 Page 5 of 5 PagelD# 9
FORM 013D-34                          No.: l;24-CR-249
          APR. 91

                                                   UNITED STATES DISTRICT COURT

                                                            Eastern District of Virginia
                                                               Alexandria Division



                                                  TI-IE UNITED STATES OF AMERICA
                                                                         V.




                                                      ASIF WILLIAM RAHMAN



                                                             INDICTMENT

                          Count I: Willful Transmission of National Defense Infomiation, in violation of 18 U.S.C. § 793(e)

                          Count 2: Willful Transmission of National Defense Information, in violation of 18 U.S.C. § 793(c)

                                                                      A true bill.


                                                                O.
                                                                     iPofema
                                                                      ILL

                                                                          *7
                                Filed in open court this-                                                          day,

                                                      of-               ■A.D. 20-     zi

                                                                       Clerk



                                       Bail, $■




                               Case 1:24-mj-00142               Document 1           Filed 11/13/24        Page 7 of 8
                                                                                                                 W'l'^vns
AO 442 (Rev Il/ll) Arrest Warrant



                                          United States District Court
                                                                       for (he

                                                            Eastern District of Virginia

                      United States of America
                                  V.

                      ASIF WILLIAM RAHMAN
                                                                         )
                                                                                           UNDER S
                                                                                              1:24-CR-249
                                                                         )        Case No.
                                                                         )
                                                                         )
                                                                         )
                                                                         )
                             Defendant


                                                          ARREST WARRANT

To:       Any authorized law enforcement officer


          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to he arrested)        ASIF WILLIAM RAHMAN
who is accused of an offense or violation based on the following document filed with the court:

2^ Indictment              3 Superseding Indictment              3 Information       3 Superseding Information             3 Complaint
n     Probation Violation Petition              □ Supervised Release Violation Petition        3 Violation Notice          3 Order of the Court

This offense is briefly described as follows:
    The defendantwillfully transmitted national defense information, in violation of Title 18, United States Code,
    Section 793(e).




Date:
                                                                                                 hsiiing officer's signature


City and state:         Alexandria. VA
                                                                                    .laoi 2irk- DepuW
                                                                                                  Printed name and title       '
                                                  i-
                                            d
                                                                      Return

                                                            I
          This warrant wi                  on|t/d                            . and the person was arrested on Cdatej
at (city and state)


Date:    NOTICE; BEFORE ARREST, VALIDATE
        —THROUGH NCIC. ORIGINAL                                                              ^ Arresting officer'sSignature


           HELD BY U.S. MARSHAL.                                                                                   IL.
                                                                                                  printed name and title




                           Case 1:24-mj-00142                   Document 1         Filed 11/13/24            Page 8 of 8
